Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 1
                                    of 10




                               EXHIBIT 13
   I exhibits nos: I j
      Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 2
                                          of 10


                                              Eurton Electric CorrytaflU, htc.
                                                                           WCMS.Inc.
                                                                9920 Painter Avenue'Whiilier, CA 90605
                                               Phone: (800) 423-4 789 FAX: (562) 946-00 4 ema il: info@eurtonelectric. com
                                                                                          1




                                                                                lnvoice


                                                                                                                        lnvoice Number: 0066970-lN
                                                                                                                           lnvoice Dale: 121 1 012002


Sold To:                                                                                      Ship To:

       t999
       I NDUSTRIAL APPARATUS SERVICE                                                               INDUSTRIAL APPARATUS SERVICE
       1320 EAST FLORIDA AVE                                                                       1320 EAST FLORIDA AVE
       Beaumont, fX 77705                                                                          Beaumont, TX 77705
Conffrm To:



Customer   P.O.           Shlp VIA                   Terms                                     Order Number       Order Date      Complefon     Dats RMA No
                          UPS RED                    COD                                       0065042            12t9t2002

     Ordered Shlpped Back Ord. ltem Number                    ltsm Descrlpdon                                                  Prica                   Amount


                                      0F0                     STATOR                                                                   960.00                   960.00




Please remit all payments to:                                                                                                   Net lnvoice:                    960.00
              PO Box 2113, Santa Fe Springs, CA 90670                                                                                   Freight:                 90.40
 For company WARRANTY and CUSTOMER SURVEY information please visit our website at this link                                       Sales Tax:                      0.00
 htlp//eurtonelectrlc.corn/support
                                                                                                                               lnvoice Total:                 '1,050.40
       Page:          1




                                                                                                                                                EE4134
       Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 3
                                           of 10


                                               Eurton Electric Conqt&flU, Irtc.
                                                                           WCMS,Inc.  'Whitlier,
                                                                 9920 PainterAvenue              CA 90605
                                               Phone: (800) 4 23-4 789 FAX: (562) 94 6-00 4 email; info@eurlonelectric. com
                                                                                          1




                                                                               lnvoice

                                                                                                                         lnvoice Number: 0067164-lN
                                                                                                                            lnvoice Dale: 121 1 612002


Sold To:                                                                                      Ship To:

       0076005
       INDUSTRIAL APPARATUS SERVICE                                                                 INDUSTRIAL APPARATUS SERVICE
       1320 EAST FLORIDA                                                                            1320 EAST FLORIDA
       BEAUMONT,TX 77705                                                                            BEAUMONT,TX 77705
Conflrm To:



Customer P.O.              ShlpVlA                    Terms                                     Order Number       Order Date       Completlon    Dare RMA No
nil-07                     UPS SAT RED                Net 30 Days                               0065146            1zt't112002


     Ordered Shlpped Back Ord. ltom Numb€r ltam Descrlptlon                                                                      Prlcs                   Amount


                                         0F0                  STATOR                                                                     960.00                   960.00




Please remit all payments to:                                                                                                      Net lnvoice:                   960.00

              PO Box 2113, Santa Fe Springs, CA 90670                                                                                     Freight:                 86.95
 For company WARRANTY and CUSTOMER SURVEY information please visit our website al this link                                         Sales Tax:                      0.00
 http://eurtoneleclric.corn/support
                                                                                                                                 lnvoice Total:                 1,046.95
       Pag€:           1




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      Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 4
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                                              Eurton Electric CornptaflU, htc.
                                                                           WCMS,Inc.'Whitlier,
                                                                9920 PainlerAvenue             CA 90605
                                               Phone: (800) 423-4 789 FAX: (562) 946-00 I 4 email:info@eurtonelectric. com



                                                                                lnvoice

                                                                                                                       lnvoice Number: 0067378-lN
                                                                                                                             lnvoice Dalei 1212012002

Sold To:                                                                                   Ship To:

       K999
       KOCH'S ELECTRIC INC                                                                         KOCH'S ELECTRIC INC
       .I301
             EAST lOTH STREET                                                                      1301 EAST.IOTH STREET
       317-716 7162                                                                                317-716 7162
       lndianapolis, lN 46202                                                                      lndianapolis, lN 46202
Confirm To:



Customer   P.O.         Shlp VIA                     Terms                                    Order Numbsr        Order DatE      Complo{on    Date RMA No
                        UPS                          coD                                      0065 144            12t11t2002

     Orderod Shlpped Back Ord. ltem Numbsr                   ltam Descrlptlon                                                  Prlcs                 Amount


                                      0A0                    ARMATURE                                                                  75.00                  75.00
                                                              16/321FAN




Please remit all payments to:                                                                                                   Net lnvoice:                  75.00
              PO Box 2113, Santa Fe Springs, CA 90670                                                                                  Freight:               13.53
 For company WARRANTY and CUSTOMER SURVEY information please visit our websile at this link                                       Sales Tax:                   0.00
 http//eurtonelecfic.com/support
                                                                                                                               lnvoice Total:                 88.53
      Page:         1




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       Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 5
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                                               Eurton Electric CornpaflU, Ittc.
                                                                            WCMS, Inc.
                                                                 9920 PainterAvenue Whillier, CA 90605
                                               Phone : (800) 423-4 789 FAX: (562) 946-00 I 4 email; info@euttoneleclric. com




                                                                                 lnvoice


                                                                                                                         lnvoice Number: 0067424-lN
                                                                                                                               lnvoice Dale: 1212312002

Sold To:                                                                                    Ship To:

       0061 000
       FRANCO POWER TOOLS                                                                           FRANCO POWER TOOLS
       8226 SORENSON #D                                                                             8226 SORENSON #D
       SANTA FE SPRNGS, CA 90670                                                                    SANTA FE SPRNGS, CA 90670
Conflrm To:



Customer   P.O.           Shlp VIA                    Terms                                    Order   Numb€r Order Date            Compl€tlon      Date RMA No
                          W/C                         coD

     Otdered Shlpp€d Back Ord. ltem Number                    ltem Descrlpilon                                                   Prlce                    Amount


           50                50        0 10/3so               SERVICE CORD                                                                0.86                     43.00




Please remit all payments to:                                                                                                     Net lnvoice:                     43.00
              PO Box 21 13, Santa Fe Springs, CA 90670                                                                                   Freight:                   0.00
 For company WARRANTY and CUSTOMER SURVEY information please visit our website at this link
                                                                                                                                   Sales Tax:                       0.00
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       Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 6
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                                              Eurton Electric CornTtaflU, Irtc.
                                                                            WCMS.Inc.
                                                                 9920 Painter Avenue'Whiltier, CA 90605
                                               Phon e: (800) 423-4 789 FAX: (562) 946-00 1 4 e mail: info@eu rlonelectric. com




                                                                                 lnvoice


                                                                                                                           lnvoice Number: 0069664-lN
                                                                                                                              lnvoice Date: 3i3l2003

Sold To:                                                                                      Ship To:

       0122094
       ROBERT BOSCH TOOL REPAIR                                                                      ROBERT BOSCH TOOL REPAIR
       554.I CANAL RD.                                                                               5541 CANAL RD.
       Cleveland, OH 44125                                                                           Cleveland, OH 44125
Confirm To:



Customer P.O.             Shlp VIA                    Torms                                     Order Numb€r         Order Date      Complotlon    Data RirA No
TOE                       UPS                         Credit Card                               0067149              2t14t2003

      Ordored Shlpped Back Ord. ltem Number ltsm Descrlptlon                                                                      Prlce                   Amount


              4                 4     0 825M                  COMM RESURF STONE                                                            6.50                    26.00




Please remit all payments to:                                                                                                      Net lnvoice:                    26.00
              PO Box 2113, Santa Fe Springs, CA 90670                                                                                     Freight:                  6.1B
 For company WARRANTY and CUSTOMER SURVEY information please visit our website al this link
                                                                                                                                     Sales Tax:                     0,00
 http//eurtonelectric.com/support
                                                                                                                                  lnvoice Total:                   32.18
       Page:          1




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       Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 7
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                                               Eurton Electric CornptanUt lttc.
                                                                           WCMS.Inc.
                                                                9920 Painter Avenue Whiltier, CA 90605
                                               Phone: (800) 423-4 789 FAX: (562) 946-00 I 4 emai/;info@eurtoneleclric.com



                                                                               lnvoice


                                                                                                                        lnvoice Number: 0069895-lN
                                                                                                                            lnvoice Dale; 31712003

Sold To                                                                                    Ship To:

        0122094
        ROBERT BOSCH TOOL REPAIR                                                                  ROBERT BOSCH TOOL REPAIR
        3320 W. VALLEY HWY N.                                                                     3320 W. VALLEY HWY N.
        AUBURN, WA 98002                                                                          253-8B7-1 900
                                                                                                  AUBURN, WA 9BOO2
Conffrm To:



Customer   P.O.            Shlp VIA                   Terms                                   Order Number        Order Dat6      Compl€tlon      Date RMA No
                           UPS                        Credit Card                             0067808             3t6t2003

     Ordercd Shlpped Back Ord. ltem Numbsr                    ltem Descdpdon                                                   Prlce                    Amount


              1                 1      O TAGS                 5OO 3-PART REPAIR TAGS                                                   33.00                     33.00
            24                24       O CODE-14BRS           BRUSH SEATING STONE 12iBX                                                 1.53                     36.72
              o                 b      O CODE-13BRS           BRUSH SEATING STONE 6/BOX                                                 1.44                      8.64
              1                 1      O B25P                 COMM RESURF STONE                                                         7.50                      7.50




Please remit all payments to:                                                                                                   Net lnvoice:                     85.86
              PO Box 2113, Santa Fe Springs, CA 90670                                                                                  Freight:                   7.31
 For company WARRANTY and CUSTOMER SURVEY information please visit our website at this link
                                                                                                                                 Sales Tax:                       0.00
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                Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 8
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                                                                                                                                    Eurton Electric Company, lnc.
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 0il t481       2/22/2006          000t'144     A-I SERVONIO]-OR REPAI             380.00     R0t t824-t:i9       0il 170,1             JG
 0l I I 55:i    2/24/2006          000 I 744    A-I SERVOMOTOR REPAI               825.00     I 1949-2            0t r r96i             .tc
 0t I t849      3/3/2006           000 I ?44    A- I SF-RVONIOTOR  REPAI           635.00     12003- 14232        0l 12250              .IG
 0   il t951    3/7/2006           000 r 744     A.I SER\IOMO-TOR REPAI             J9.5,1    TTI t706-t38        0t 12383              J(;
 0t I t952      3/7/2006           000 I 744     A-I SIRVOMOTOR REPAI              I 95.00    I l9l4-t4t50        0r l 1959             JG
 0t I I953      3t7/2006           0001744       A-I SERVOMOTOR REPAI              225.00     R0tR01 t858-        0t I t543             JG
 0t I 1954      3/7/2006           000 I 744     A-I SERVOMOTOR REPAI              I95.00     I l9l4-l4l5l        0t I 1957             JG
 0t I 1955      3/7/2006           000 l 744     A-I SERVOMOTOR REPAI            195.00       I t9l4-14 t52       0lll958               JG
 0t I 1956      3/7/2006           000 r 744     A-I SER\/OMOTOR REPN I          275.00       I 1829-14001        0l l t8il             JG
 0t I I957      3/712006           000 I 744     A.I SERVOMOTOR REPAI            195.00       I l9l4-14 I t4      0l I t956             JG
 0t 12005       3/8t2006           00ot'|44      A.I SERVOMOTOR REPAI            258 40       I 2009- I           0t 1225t              JG
 0l 12006       318/2006           000 I 744     A-I SERVOMO.I'OR REPAI          225.00       11940-14158         0t 12252              JG
 0l 12100       3/t0/2006          000 I 744     A.I SERVONIOTOR REPAI           350.00       lt97t               0t 12232              .tc
 0ll2l.l5       3l t3/2006         0001744      ,r\-l SERVOMOTOR REPAI         | 350.00       I 40 I   0/l 4089   0112236               JG
 0ll2t96        3t 14t2006         o00t'744      A-I SERVOMOTOR REPAI          | 785.00       R0l 1927            01 I l8l0             JG
 0I12r97        3l l4/2006         000 I ?44     A-I SERVOMOTOR REPAI            375.00       12043-14294         0t 124'74             JG
 0l 12240       3/ 15t2006         000 I 744     A.I SERVOMOTOR REPAI                00       I 1706-t            0t t2570              .IG
 0t t224 l      3/ t5/2006         000 I 744    A-I SERVONIOTOR REPAI            650.00       12063-14326         01t2630               JG
 0|229t         3l 16t2006         000 I 741     A.I SERVOMOTOR REPAI              2'75.O0    R0il968-t4l         0 | t2.105            JG
 0l 12295       3l 1612006         001)1744      N.I SIJRVOMOTOR REPAI             2'15.OO    R0l t969            0t 1240'1             JG
 0|248'7        3/22/2006          000 I ?44     A.I SERVOMOTOR REPAI          I I 89.06      R012069-t           0il28t2               JG
 0t 12591       3/24t2006          000 I 744     A-I SERVONIOTOR REPAI          450.00        I t671- t3'7',73    0l124'76              JG
 0t t2'794      3/30/2006          000t'l44      A.I SERVONIOTOR REPAI           575.00       14244114203         ot t2'759             JG
 01t2853        3/3t/2006          000 I 744     A-I SERVOMOTOR REPAI            575.00       I l96t-14 | 79      ol 12632              JG
 0t r2854       3/3112006          000 I 744    A.I SERVOMOTOR REPAI                  .00     R0l l9t4-l4l        0t 13053              JG
 0l t2855       3/31/2006          000 I 744     A.I SERVOMOTOR REPAI                .00      R0t l9l4-l4r        0t 13052              JG
 0l 1292t       4/3/2006           000 I 744     A.I SERVOMOTOR REPAI           255.00        R0l 1953-l4t        0l t2404              DEF
 0t 13072       4/'1t2006          000 I 744     A-I SERVOMOTOR REPAI           400.00        R0l t?01-t38        0ll3r7l               DEF
 0t 13073       4/',?/2006         000 | 744     A-I SERVOMOTOR REPAI                .00      I t6',77-13773      0t 13445              DEF
 0113074        4/'1/2006          000 l 744     A-I SERVOMOTOR REPAI           250.00        R0t l99l-t42        0ll3t74               DEF
 0t t30?5       4t7/2006           0001744       A.I SERVOMOTOR REPAI              2',75.OO   12040-t429t         0l r2985              DI]F
 0t 13076       4/'7/2006          000 l 744     A-I SERVOMOTOR REPAI            450.00       I I 886-t4075       01 12473              DEF
 0l t3391       4t t8/2006         000 I 744    A-I SERVO}vIOTOR REPAI         I 025.00       R0l l99l-l          0lt3l83               .tc
 0t134l6        4/19/2006          000 | 744    A-I SERVOMOTORREPAI                  .00      l2l0l               0il3il8               JG
 0t 13463       4/20/2006          0001744      A.I SERVOMOTOR REPAI             325.00       12127               0t t3410              JG
 0l l3?03       4/27t2006          000 I 744    A-I SERVOMOTORREPAI              255.00       R0l20t8-2           0t t389 l             JG
 0t 13704       4127/2006          000 I 744    A-I SERVO]VIOTOR REPAI           255.00       R0l20l8-142         0t t3892              JG
 0t 13713       4/27t2006          000 I 744    A-I SERVONIOTOR REPAI            350.00       R0 I 2083           0t 13t72              JG
 0l 13843       5/2/2006           000 | 7.14    A-I SERVOMOTOR REPAI                .00      I t9t4-l4l5l        0r t3556              JG
 0t t4174       s/ | I t2006       0001'744      A-I SFRVOMOTOR REPAI            250.00       \t799               0il4131               JG
 0 I 14235      5/t2/2006          000i744      A-I SERVOMOTOR REPAI                 .00      RO12083-t43         0r 14459              JG
 0l 14434       5/ l8/2006         000 I 744    A- I SERVOIVIOTOR RI]PAI       I 785.00       R0l2 I 97           0l 13961              JG
 0l 14667       5/25t2006          000 I 744    A-I SERVONIOTOR REPAI                .00      l r955              0 I t2234             JG
 0t t4668       5/25/2006          000 I 741    A-I SERVOMOTOR REPAI                 .00      1t959               0ilr964               JG
 0t t4948       6/5/2006           000 I 744     A.I SERVOMO'TOR REPAI           425.00       't2291              0t 14997              JG
 0l 14983       6/6/2006           000 I 74.1   A.I SERVOMOTOR REPAI                 .00      12341               0t 148t5              ]G
 0t I4984       6/6/2006           000 I 744    A-I SERVOMOTOR REPAI                 .00      R0 I 2245           Al 142t2              JG
 0t t5322       6/20/2006          0001744      A.1 SERVOIVIOTOR REPAI           175.00       12336-14't'12       0lt5l29               JG
 0t 15607       6t27/2006          000 I 74'l   A-I SERVOMOTOR REPAI               3'7 5.O0   12332-14765         0t t5397              JG
 0t 15608       6/27/2006          000 l 744    A.I SERVOMOTOR REPAI             450.00       I 1975-14te6        0t t40e7              JG
 0t 15824       1/3/2006           0001744      A.I SERVOMOTOR REPAI             300.00       I 2406- I           0t t5't64             JC
 0t t59'72      7   /712006        000 I 741    A-I SERVOMOTOR REPAI           l 500.00       t2443-t,1923        0il58t6               DEF
 0l 16t56       '7/ t4/2006        000 I 744    A.I SERVONIOTOR REPAI          1   06 1.84    R012440-t49         0t 15957              JG
 0tl6t57        1 /   l1/2006      000174.1     A-I SERVOMOTOR REPAI            250.00        12140-14920         0t r5958              i(;
 0t 16469       7121/2006          000 I 74,1   A.] SERVOMOTOR REPAI            700.00        I 2543              0l I6473              .IG
 0l t6585       '7/2'7/2006        000 | 744    A.I SERVOMOTORREPAI             400.00        R0 I 258?           0|I66t0               JG
 0l 16869       8/8/2006           000 I 744    A-I SERVOMOTOR REPAI             595.00       R0 I 2408-249       0116092               JG
 0l r6920       8/8/2006           000 I 74.1   A.I SERVOMOTOR REP,{I          I I 40.00      LAl2663-t &         0t t'l017             JG
 01t7068        8^ I /2006         000 I 741    A-I SERVOMOTOR REPAI            950.00        t2446-2492'7        0l t5995              JG
 0 I 17134      8/14/2006          000 I 744    A.I SERVONIO-TOR REPAI                .00     r0 I 2443- I        0t t6332              JG
 0t t'1212      8/t6/2006          000 I 744    A-I ST]RVOMOTOR REPAI           360.00        R0t2662-252         0il7r33               JG
 ol 17279       8/ l7/2006         000 I 74,1   A-I SERVONIOTOR REPAI            108.16       TTt2'719            0t 17414              JG
 t)t 11377      8/ t7/2006         000 l 744    A-I SERVONIOTOR REPA]                 .00     ROt2446-149         0t 17457              JC
 0t t'7466      8/23/2006          000 l 741    A.I SERVOMOTOR REPAI            760.00        LAl2'7.1t           0l 175J0              JG
 0l t'7 512     8/21/2006          000 I 74'l   A-I SERVOIVIOTOR REPAI          375.00        R0t2t94             0t l'7 t21            JG
 0t 176i0       8/29/2006          000174.1     ,,\-I SERVOiVIOTOR REPAI           69'7.3'1   RO I 2723           0t I770t              JG
 0t 17881       9/6i2006           000174,1     A.I SERVOMOTOR REPAI           l3t5.it        LA I 2636-252       0lr76l3              JG
 0t t7965       918/2006           000 I 74.1   A-I SERVOMO'TOR RE}'TU             36.84      rt I 2686           0l t8096             .lG
 0t 17966       9/8/2006           000 t 74-l   A.I SER\/OMOTOR REPAI          1.t00.00       ROl259t-t           0t t6561             .t(;
 0l 18092       9t t2/2006         000 I 741    ,\-I SERVONIOTOR REPAI           235.00       ROt2336-247         0t t77si              IBA
 0lt8l3l        9/ t3t2006         000 I 744    A-I SEIIVONIOTOR REPAI           375.00       RO I 2575-25 I      0t I7959             JG
 0 I 18132      9/ t3t2006         000 I 744    A- I SERVOIVIOTOR REP-{I         375 00       RO t.2i75-25 I      0t 17953             JC
 0l t8423       9/2tt2006          000 174.1    A-I SERVONIOTOR REPA]            400.00       RO I 2390           0II7960              JG
 0l t8470       9/22/2006          000 I 741    A-I SERVONIOTOR REPAI            675.00       I'Al2617            0l I 729!)           J(i
 0r 185s0       9/27/2006          000174.1     A.I SERVOIVIOTOR REPAI                00      RO I 2408- I        0t I7541             JG
 0l 18591       9/2712006          000 I 744    A.I SERVONIOTOR REPAI                 00      RO I 2647- I        0t r 8589            .IG
 0 I I 8(r.14   9/21/2006          000 l 74.1   A-I SERVONIO'fOR REPAI           950.00       R0 r 2446-249       0il62r0              ic
 0t 18934       t0/5/2006          000 I 74.1   A.I SERVONIOTOR REPAI          i I 25.00      LA I 2888           0 il 8814            .IG
 0t 19t66       I 0/t 3/2006       000 I 74J    A-I SER\/OMOTOR REPAI            575.00       ROl2776-254         0t 18961             JC;
 0ll9t99        r\/16/200(,        000 I ?41    ,\- I SERVONIOTOR REP,,\I      I 755 00       L..\ ll78(r         0r r8{48             .tci
 0t t9459       t0123/2006         000 I 741    A-I SERVONIOTOR REPAI          | 250 00       l.r\441             0lt88l6              .rc
 0l 19630       t0/27t2006         000 I 74.1   A.I SI]RVOi\IoTOII REPAI         296.08       LA I tS92           01r9507              .t(;
 0 r l9?:r9     I I lt t2006       000 I 74.1   A-l SERVONIO'fOR RtiPi\l         966.69       Ln I 2997           0l 19670             .tc;



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                                                                                                                     Eurton Electric Company, lnc
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 Inv No       lnv Date         Customer   Name                      Inv Total      Custonrer   PO   Sales Ordcr No       UscrKcy

 0003793      9t24t20t0        INT999     KALAMAZOO ELECTRIC M           27.21     3793 INTERN      0003793              ;\shley Tallis
 00 I 2434     5il911999       0084000    KALAMAZOO ELECTRIC NI         203.9'7    RO5I?            00 I 2460            JG
 002239t       12^5/t999       0084000    KALANIAZOO ELECTRIC N'        235.54     Rt2l3            0022604              JG
 oo27022      3/27t2000        0084000    KALAMAZOO ELECTRIC N'         2 I 8.84   Rt322            0027062              .lG
 002'1 t'|4   3129/2000        0084000    KALAMAZOO ELECTRIC NI           23.42    R032?            0027259              .IG
 0030249      6t5/2000         0084000    KALAMAZOO ELECTRIC M          38 | .94   R0602            0030290              JC
 0043563      416/2001         0084000    KALAMAZOO ELECTRIC M          2t0.87     R0404            004312'7             JG
 0046005      6/6/200t         0084000    KALAIVIAZOO ELECTRIC NI        49.66     R0604            0045505              JC
 0047843      '7123/2001       0084000    KALAMAZOO ELECTRIC N4         362.80     R0?19            00472t0              JG
 0049735      916/2001         0084000    KALAMAZOO ELECTRIC M           66.96     J08r6            0048709              JG
 0050759       t0l t/2001      0084000    KALAMAZOO ELECTRIC N4             .00    J09t 8           0049814              JG
 005745 l     312612002        0084000    KALAMAZOO ELECTRIC M          368.19     R0325            0056161              JU
 00618'72     712412002        0084000    KALAIVIAZOO ELECTRIC Nl       l9l.35     R07019           0060161              JU
 0065505      t0/2912002       0084000    KALAMAZOO ELECTRIC I\4         89.75     RIO28            0063694              JU
 007 5729     8/l 8/2003       0084000    KALAMAZOO ELECTRIC M          39r.59     R0815            00'73266             DEF
 007'1332     9/2912003        0084000    KALAMAZOO ELECTRIC M          I 08.09    R0926            0074736              JG
 007'1751      t0/9/2003       0084000    KALAMAZOO ELECTRIC M           83.32     930              0075086              DEF
 00905 r 5    9121t2004        0084000    KALAIVIAZOO ELECTRIC M         83.',73   J0902            0086900              JG
 0091 548     t011812004       0084000    KALAMAZOO ELECTRIC M          r 07.85    Rl0r5            0087987              JG
 0092877      I I12212004      0084000    KALAMAZOO ELECTRIC M           63.21     RICK             0089 I 74            JG
 009s876      2/4n999          0084000    KALAMAZOO ELECTRIC M          r 38.36

 0099560      3/ t5/2005       0084000    KALAMAZOO ELECTRIC M           22.07     JO3l I           010096s              JC
 0l 00042     3/28/2005        0084000    KALAMAZOO ELECTRIC M           83.35     J0318            0l0l4 t 8            JG
 0t0ll64       4t27t2005       0084000    KALAMAZOO ELECTRIC M          159.84     J0417            0102442              JG
 0104754      8/8/2005         0084000    KALAMAZOO ELECTRIC M           83.35     J0'12',1         0 105692             JG
 0 I 06540    9t28/2005        0084000    KALAMAZOO ELECTRIC M           83.35     J0916            0l 07506             JG
 0 I 08708    |/3012005        0084000    KALAMAZOO ELECTRIC M            8.88     NELSON           0t09342              JG
 0t t2162     3il3/2006        0084000    KALAMAZOO ELECTRIC M          t43.64     J0224            0|2357               JC
 0l 12881     313112006        0084000    KALAMAZOO ELECTRIC M           49.50     R29              0tt3237              J6
 0t1324'1     4lt2/2006        0084000    KALAMAZOO ELECTRIC M          333.47     JR0328           0l 13352             JG
 0l 13489     4/20/2006        0084000    KALAMAZOO ELECTRIC M           38.06     R0419            0r r3828             JG
 0l 17853     9/5t2006         0084000    KALAMAZOO ELECTRIC NI          93.96     J0828            0l 17951             JG
 0l 18040     9^v2006          0084000    KALAIVIAZOO ELECTRIC M         83.56     J0829            0t t'l944            JC
 0164827       t2t'il2010      0084000    KALAMAZOO ELECTRIC M           3',7.85   Tt206            0164343              Ashley Tallis
 0t66652      3/3t20fi         0084000    KALAMAZOO ELECTRIC M            66.95    T0228            0 I 66350            Ashley Tallis
 0t68245      5t6/2011         0084000    KALAMAZOO ELECTRIC M            38.54    J0504            016'1948             Steve Jansen
 0187333      8il4/20t3        0084000    KAI-AMAZOO ELECTRIC M         l 13.02    T0813            018'1324             Ashley Tallis
 0 I 95630    8t29/2014        0084000    KALANIAZOO ELECTRIC M           56.00    J0828            0195"171             Ashley Tallis
 0227451      5^0/20t'l        0084000    KALAMAZOO ELECTRIC M            '79.39   P05091 7         02287't'1            Ashley Tallis
 0227921      6/6/20t7         0084000    KALAMAZOO ELECTRIC IVI         t4.'7 5   PATRICK          022924'7             Ashley Tallis
 49735C       t0t26/2001       0084000    KALAMAZOO ELECTRIC M          -66.96                                           DEF

4 I Records




                                am                                                                                                            Page: 1
Application Date: 06/28/2018                                                                                                              User: AT /AT
             Case No. 1:16-cv-02981-MSK-MDB Document 109-16 filed 11/01/21 USDC Colorado pg 10
                                                  of 10
                                                                            Eurton Electric Company, lnc.
Lookup AR lnvoice History Header



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 0074860       7/2512003          1999        IDEAL SAW               3'1.64    w0723A          00'12396           cz
 0094't59      l/t4t2005          1999        IDEAI- SAW              64.0 1    I   05460W      0090744            a7
 0076875       9/t7/2003          00'15642    IDEAL SAW WORKS        t46. t4    t07t73w         0074345            CZ
 0077558       t0t3t2003          007s642     IDEAL SAW WORKS         53.41     r 03254W        0074996            CZ
 007984'1      t215/2003          0075642     IDEAL SAW WORKS          40.00    I 03543W        o077102            CZ
 0082712       2t24/2004          0075642     IDEAL SAW WORKS        t8'7.39    r 03949W        00?98 I 9
 0086463       5128/2004          0075642     IDEAI- SAW WORKS         63.00    t04420          0083283            e7
 008957 I      8t24/2004          00'15642    IDEAL SAW WORKS          68.43    I 04825W        0086t91            cz
 009r59r       101],912004        0075642     IDEAL Sr\W WORKS         77.'10   l050t6w         0088027            CZ
 009297'l      It2412004          0075642     IDEAL SAW WORKS        268.0'7    r   0526SW      0089326            CZ
 0098645       21t612005          00'75642    IDEAL SAW WORKS        153.22     I   05600w      0l00l4l            CZ
 0100163       3t3t/2005          00'15642    IDEAL SAW WORKS          91.29                    0101563            CZ
 0l0 r 7l5     s/t01200s          00'15642    IDEAL SAW WORKS          39.49    I 06057         0102945            f7
 0 I 03784     '11t212005         0075642     IDEAL SAW WORKS          22.84    t06310          0104672            a7
 0 I 0565?     9t2/2005           0075642     IDEAL SAW WORKS          73.53    | 0657AW        0 I 06?03          cz
 0108963       t2/712005          00'15642    IDEAL SAW WORKS          88.49    | 07024W        0 I 09758
 0l l3 I85     4no/2006           00'75642    IDEAL SAW WORKS          95.22                    0t 13538           cz
 0l I3456      4t2012006          007 5642    IDEAL SAW WORKS          91.41    t07296W         0l I 1356          CZ
 0114535       5/t912006          00'15642    IDEAL SAW WORKS        t'73.93    | 0785   l      0l 14814           cz
 0l r 9286     l0/l 8/2006        0075642     IDEAL SAW WORKS         '16.03    | 08649         0tt9293
 0119734       1UIt2006           00'15642    IDEAL SAW WORKS         73.88     108723          0l I 9763          cz
 0l23ls4       2/12/2007          00'15642    IDEAL SAW WORKS        299.27     688566          0t23023            CZ
 0124'1 l0     3t28t200'7         00'15642    IDEAL SAW WORKS         24.58                     0124501            CZ
 0t24903       4/3/2007           0075642     IDEAL SAW WORKS         4'1.42    | 09365         0t24656            cz
 0126136       5llL/200'l         0075642     IDEAL SAW WORKS          14.20    SHERRY          0 125880           cz
 0t2703'?      6/8t2007           00'15642    IDEAL SAW WORKS          19.34    I 09658         012669t            CZ
 0 I 28648     712'il200'1        0075642     IDEAL SAW WORKS        t07.89     0000 I 0985 I   0t28220            CZ
 0128843       8/212007           00'75642    IDEAL SAW WORKS        t50.6'1    0000 I 09875    0 r 28390          CZ
 0135102       2/20/2008          00'15642    IDEAL SAW WORKS        't5t.23    I I 0693        0134368            CZ
 0 135440      2t29t2008          00'75642    IDEAL SAW WORKS         2l.09     VERBAL          0134'714           GY
 0 140585      8/l 9/2008         0015642     IDEAL SAW WORKS          35.93    P.O.I I l36l    0 I 39804          CZ
 0151529       81t312009          0075642     IDEAL SAW WORKS          49.06    0000t t247 |    0 I 50870          Charley Zacharia
 0163 173      9127/20tO          00'15642    IDEAL SAW WORKS          50.99    0000 I I 3324   0 l 62685          Charley Zacharia
 016161 I      I l/30/2010        00'15642    IDEAL SAW WORKS          83.60    0000 I I 3324   0l 62685           Charley Zacharia
 0166545       2t28/20tt          00'15642    IDEAL SAW WORKS          75.23    0000r 13623     0t66239            Charley Zacharia
 0170029       7122/20tt          00'15642    IDEAL SAW WORKS          57.52    0000 I 13886    0t69842            Charley Zachuia
 0t73791       Ut0t20l2           00'15642    IDEAL SAW WORKS        I 37.88    0000 r 1420?    0t'13522           Charley Zacharia
 ot7528l       3lt3/20t2          00'15642    IDEAL SAW WORKS          66.87    0000 I 14326    0175096            Charley Zacharia
 0t78966       8ll7l20t2          0075642     IDEAL SAW WORKS          77.23    0000 I 14636    0178930            Charley Zachria
 0 I 79030     8t2v20t2           0075642     IDEAL SAW WORKS          63.05    n4641           0179005            Charley Zacharia
 0r91955       3n3/20t4           00't5642    IDEAL SAW WORKS          90.6 |   0000115631      0l 92000           Charley Zacharia
 0220778       4120/2016          0075642     IDEAL SAW WORKS        t07.93     0000 r r 6956   o221449            Charley Zacharia
 c'16875       10il6t2003         o075642     IDEAL SAW WORKS       -r2.50                                         JG


43 Records




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Application Dale: 06127 I 2O1 I                                                                                                       User: AT / AT
